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 17
 18                     UNITED STATES DISTRICT COURT
 19                   CENTRAL DISTRICT OF CALIFORNIA
 20
 21 NANO FOUNDATION, LTD., a New           Case No. 2:19-cv-04237 MRW
 22 York non-profit corporation; and
    COLIN LeMAHIEU, an individual,         STIPULATED PROTECTIVE
 23                                        ORDER
                Plaintiffs,
 24                                        lgj Check if submitted without material
          vs.                              modifications to MRW form
 25
 26 DAVID C. SILVER, an individual,

 27             Defendant.
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  1 1.     INTRODUCTION
  2        1.1.    PURPOSES AND LIMITATIONS
  3        Discovery in this action is likely to involve production of confidential,
  4 proprietary, or private information for which special protection from public
  5 disclosure and from use for any purpose other than prosecuting this litigation may be
  6 warranted. Accordingly, the parties hereby stipulate to and petition the Court to
  7 enter the following Stipulated Protective Order. The parties acknowledge that this
  8 Order does not confer blanket protections on all disclosures or responses to discovery
  9 and that the protection it affords from public disclosure and use extends only to the
 10 limited information or items that are entitled to confidential treatment under the
 11 applicable legal principles. The parties further acknowledge, as set forth in Section
 12 12.3, below, that this Stipulated Protective Order does not entitle them to file
 13 confidential information under seal; Civil Local Rule 79-5 sets forth the procedures
 14 that must be followed and the standards that will be applied when a party seeks
 15 permission from the court to file material under seal.
 16         1.2.   GOOD CAUSE STATEMENT
 17        The claims in this case are based on alleged defamatory statements by
 18 Defendant David Silver against Plaintiffs Colin LeMahieu and Nano Foundation
 19 related to both the nature Nano Foundation's business and Mr. LeMahieu's divorce.
 20 Without waiver of any right to obtain or object to such discovery, the parties note
 21 that: Discovery already requested in this case includes, for example, private
 22 financial records, tax returns and account information that may contain sensitive
 23 private information including social security numbers, confidential communications
 24 that may contain trade secrets or other commercial communication, documents
 25 submitted to federal law enforcement, private communications between a husband
 26 and wife, court filings related to Mr. LeMahieu's divorce, and other sensitive
 27 documents for which there is good cause to designate confidential at least during the
 28 discovery process, if not longer. Cf Oliner v. Kontrabecki, 745 F.3d 1024, 1026 (9th

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   1 Cir. 2014 ). There is a reasonable chance that the disclosure of some of such
  2 documents could cause embarrassment to the parties or reveal trade secrets, without
  3 any corresponding public interest, and there is good cause to permit the parties to
  4 designate certain material as confidential.
  5 2.      DEFINITIONS
  6         2.1.   Action: this pending federal law suit.
  7         2.2.   Challenging Party: a Party or Non-Party that challenges the designation
  8 of information or items under this Order.
  9         2.3.   "CONFIDENTIAL" Information or Items: information (regardless of
 10 how it is generated, stored or maintained) or tangible things that qualify for
 11 protection under Federal Rule of Civil Procedure 26( c), and as specified above in the
 12 Good Cause Statement.
 13         2.4.   Counsel: Outside Counsel of Record and House Counsel (as well as
 14 their support staff).
 15         2.5.   Designating Paiiy: a Party or Non-Party that designates information or
 16 items that it produces in disclosures or in responses to discovery as
 17 "CONFIDENTIAL."
 18         2.6.   Disclosure or Discovery Material: all items or information, regardless
 19 of the medium or manner in which it is generated, stored, or maintained (including,
 20 among other things, testimony, transcripts, and tangible things), that are produced or
 21 generated in disclosures or responses to discovery in this matter.
 22         2.7.   Expert: a person with specialized knowledge or experience in a matter
 23 pertinent to the litigation who has been retained by a Party or its counsel to serve as
 24 an expert witness or as a consultant in this Action.
 25        2.8.    House ounsel: attorneys who are employees of a party to this Action.
 26 House Counsel do~s not include Outside Counsel of Record or any other outside
 27 counsel.
 28

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  1        2.9.   Non-Party: any natural person, partnership, corporation, association, or
  2 other legal entity not named as a Party to this action.
  3        2.10. Outside Counsel of Record: attorneys who are not employees of a party
  4 to this Action but are retained to represent or advise a party to this Action and have
  5 appeared in this Action on behalf of that party or are affiliated with a law firm which
  6 has appeared on behalf of that party, and includes support staff.
  7        2.11. .Efil!y: any party to this Action, including all of its officers, directors,
  8 employees, consultants, retained experts, and Outside Counsel of Record (and their
  9 support staffs).
 10        2.12. Producing Party: a Party or Non-Party that produces Disclosure or
 11 Discovery Material :n this Action.
 12        2.13. Professional Vendors: persons or entities that provide litigation support
 13 services (e.g., photocopying, videotaping, translating, preparing exhibits or
 14 demonstrations, and organizing, storing, or retrieving data in any form or medium)
 15 and their employees and subcontractors.
 16        2.14. Protected Material: any Disclosure or Discovery Material that is
 17 designated as "CONFIDENTIAL."
 18        2.15. Receiving Party: a Party that receives Disclosure or Discovery Material
 19 from a Producing Party.
 20 3.     SCOPE
 21        The protections conferred by this Stipulation and Order cover not only
 22 Protected Material (as defined above), but also (1) any information copied or
 23 extracted from Protected Material; (2) all copies, excerpts, summaries, or
 24 compilations of Protected Material; and (3) any testimony, conversations, or
 25 presentations by Parties or their Counsel that might reveal Protected Material.
 26        Any use of Protected Material at trial will be governed by the orders of the
 27 trial judge. This Order does not govern the use of Protected Material at trial.
 28

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      1 4.   DURATION
   2         Even after final disposition of this litigation, the confidentiality obligations
   3 imposed by this Order will remain in effect until a Designating Party agrees
   4 otherwise in writing or a court order otherwise directs. Final disposition will be
   5 deemed to be the la:er of ( 1) dismissal of all claims and defenses in this Action, with
   6 or without prejudice; and (2) final judgment herein after the completion and
   7 exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
   8 including the time limits for filing any motions or applications for extension of time
   9 pursuant to applicable law.
 10

 11 5.       DESIGNATING PROTECTED MATERIAL
 12          5.1.   Exercise of Restraint and Care in Designating Material for Protection.
 13 Each Party or Non-Party that designates information or items for protection under
 14 this Order must tal\y. <;are to limit any such designation to specific material that
 15 qualifies under the appropriate standards. The Designating Party must designate for
 16 protection only those parts of material, documents, items, or oral or written
 17 communications that qualify so that other portions of the material, documents, items,
 18 or communications for which protection is not warranted are not swept unjustifiably
 19 within the ambit of this Order.
 20          Mass, indiscriminate, or routinized designations are prohibited. Designations
 21 that are shown to be clearly unjustified or that have been made for an improper
 22 purpose (e.g., to unnecessarily encumber the case development process or to impose
 23 unnecessary expenses and burdens on other parties) may expose the Designating
 24 Party to sanctions.
 25          If it comes to a Designating Party's attention that information or items that it
 26 designated for protection do not qualify for protection, that Designating Party must
 27 promptly notify all other Parties that it is withdrawing the inapplicable designation.
 28

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  1        5.2.   Manner and Timing of Designations. Except as otherwise provided in
  2 this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  3 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  4 under this Order must be clearly so designated before the material is disclosed or
  5 produced.
  6        Designation in conformity with this Order requires:
  7        (a)    for information in documentary form (e.g., paper or electronic
  8 documents, but excluding transcripts of depositions or other pretrial or trial
  9 proceedings), that the Producing Party affix at a minimum, the legend
 10 "CONFIDENTIAL" (hereinafter "CONFIDENTIAL legend"), to each page that
 11 contains protected material. If only a portion or portions of the material on a page
 12 qualifies for protection, the Producing Party also must clearly identify the protected
 13 portion(s) (e.g., by making appropriate markings in the margins).
 14               A Party or Non-Party that makes original documents available for
 15 inspection need not designate them for protection until after the inspecting Party has
 16 indicated which documents it would like copied and produced. During the inspection
 17 and before the designation, all of the material made available for inspection will be
 18 deemed "CONFIDENTIAL." After the inspecting Party has identified the
 19 documents it wants copied and produced, the Producing Party must determine which
 20 documents, or portions thereof, qualify for protection under this Order. Then, before
 21 producing the specified documents, the Producing Party must affix the
 22 "CONFIDENTIAL legend" to each page that contains Protected Material. If only a
 23 portion or portions of the material on a page qualifies for protection, the Producing
 24 Party also must clearly identify the protected portion(s) (e.g., by making appropriate
 25 markings in the margins).
 26        (b)    for testimony given in depositions that the Designating Party identify
 27 the Disclosure or Discovery Material on the record, before the close of the deposition
 2 8 all protected testimony.

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   1          (c)    for information produced in some form other than documentary and for
   2 any other tangible items, that the Producing Party affix in a prominent place on the
  3 exterior of the container or containers in which the information is stored the legend
  4 "CONFIDENTIAL." If only a portion or portions of the information warrants
   5 protection, the Producing Party, to the extent practicable, will identify the protected
  6 portion(s).
  7           5.3.   Inadvertent Failures to Designate. If timely corrected, an inadvertent
  8 failure to designate qualified information or items does not, standing alone, waive the
  9 Designating Party's right to secure protection under this Order for such material.
 10 Upon timely correction of a designation, the Receiving Party must make reasonable
 11 efforts to assure that the material is treated in accordance with the provisions of this
 12 Order.
 13
 14 6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
 15           6.1.   Timing of Challenges. Any Party or Non-Party may challenge a
 16 designation of confidentiality at any time that is consistent with the Court's
 17 Scheduling Order.
 18           6.2.   Meet and Confer. The Challenging Party will initiate the dispute
 19 resolution process (and, if necessary, file a discovery motion) under Local Rule 37.l
 20 et seq.
 21           6.3.   The burden of persuasion in any such challenge proceeding will be on
 22 the Designating Party. Frivolous challenges, and those made for an improper
 23 purpose (e.g., to harass or impose unnecessary expenses and burdens on other
 24 parties) may expose the Challenging Party to sanctions. Unless the Designating
 25 Party has waived or withdrawn the confidentiality designation, all parties will
 26 continue to afford the material in question the level of protection to which it is
 27 entitled under the Producing Party's designation until the Court rules on the
 28 challenge.

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  1 7.     ACCESS TO AND USE OF PROTECTED MATERIAL
  2        7.1.   Basic Principles. A Receiving Party may use Protected Material that is
  3 disclosed or produced by another Party or by a Non-Party in connection with this
  4 Action only for prosecuting, defending, or attempting to settle this Action. Such
  5 Protected Material may be disclosed only to the categories of persons and under the
  6 conditions described in this Order. When the Action has been terminated, a
  7 Receiving Party must comply with the provisions of section 13 below (FINAL
  8 DISPOSITION).
  9        Protected Material must be stored and maintained by a Receiving Party at a
 10 location and in a secure manner that ensures that access is limited to the persons
 11 authorized under this Order.
 12        7.2.   Disclosure of "CONFIDENTIAL" Information or Items. Unless
 13 otherwise ordered by the court or permitted in writing by the Designating Party, a
 14 Receiving Party may disclose any information or item designated
 15 "CONFIDENTIAL" only to:
 16        (a)    the Receiving Party's Outside Counsel of Record in this Action, as well
 17 as employees of said Outside Counsel of Record to whom it is reasonably necessary
 18 to disclose the information for this Action;
 19        (b)    the officers, directors, and employees (including House Counsel) of the
 20 Receiving Party to whom disclosure is reasonably necessary for this Action;
 21        (c)    Experts (as defined in this Order) of the Receiving Party to whom
 22 disclosure is reasonably necessary for this Action and who have signed the
 23 "Acknowledgment and Agreement to Be Bound" (Exhibit A);
 24        (d)    the Court and its personnel;
 25        (e)    court reporters and their staff;
 26        (f)    professional jury or trial consultants, mock jurors, and Professional
 27 Vendors to whom disclosure is reasonably necessary for this Action and who have
 28 signed the "Acknowledgment and Agreement to Be Bound" (Exhibit A);

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      1     (g)    the author or recipient of a document containing the information or a
   2 custodian or other person who otherwise possessed or knew the information;
   3        (h)    during their depositions, witnesses ,and attorneys for witnesses, in the
  4 Action to whom disclosure is reasonably necessary provided: ( 1) the deposing party
   5 requests that the witness sign the form attached as Exhibit A hereto; and (2) they will
  6 not be permitted to keep any confidential information unless they sign the
  7 "Acknowledgment and Agreement to Be Bound" (Exhibit A), unless otherwise
  8 agreed by the Designating Party or ordered by the court. Pages of transcribed
  9 deposition testimony or exhibits to depositions that reveal Protected Material may be
 10 separately bound by the court reporter and may not be disclosed to anyone except as
 11 permitted under this Stipulated Protective Order; and
 12         (i)    any mediator or settlement officer, and their supporting personnel,
 13 mutually agreed upon by any of the parties engaged in settlement discussions.
 14
 15 8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
 16 OTHERLITIGATION
 17         If a Party is served with a subpoena or a court order issued in other litigation
 18 that compels disclosure of any information or items designated in this Action as
 19 "CONFIDENTIAL," that Party must:
 20         (a)   promptly notify in writing the Designating Party. Such notification will
 21 include a copy of the subpoena or court order;
 22         (b)   promptly notify in writing the party who caused the subpoena or order
 23 to issue in the other litigation that some or all of the material covered by the
 24 subpoena or order is subject to this Protective Order. Such notification will include a
 25 copy of this Stipulated Protective Order; and
 26         (c)   cooperate with respect to all reasonable procedures sought to be pursued
 27 by the Designating Party whose Protected Material may be affected.
 28

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   1        If the Designating Party timely seeks a protective order, the Party served with
   2 the subpoena or court order will not produce any information designated in this
   3 action as "CONFIDENTIAL" before a determination by the court from which the
   4 subpoena or order issued, unless the Party has obtained the Designating Party's
   5 permission. The Designating Party will bear the burden and expense of seeking
   6 protection in that court of its confidential material and nothing in these provisions
   7 should be construed as authorizing or encouraging a Receiving Party in this Action to
   8 disobey a lawful directive from another court.
   9
  10 9.     A NON-PARTY'S PRO ECTED MATERIAL SOUGHT TO BE
  11 PRODUCEDIN IDSLITIGATION
  12        (a)    The terms of this Order are applicable to information produced by a
  13 Non-Party in this Action and designated as "CONFIDENTIAL." Such information
  14 produced by Non-Parties in connection with this litigation is protected by the
  15 remedies and relief provided by this Order. Nothing in these provisions should be
  16 construed as prohibiting a Non-Party from seeking additional protections.
  17        (b)    In the event that a Party is required, by a valid discovery request, to
  18 produce a Non-Party's confidential information in its possession, and the Party is
  19 subject to an agreement with the Non-Party not to produce the Non-Party's
 20 confidential information, then the Party will:
 21                ( 1)   promptly notify in writing the Requesting Party and the Non-
 22 Party that some or all of the information requested is subject to a confidentiality
 23 agreement with a Non-Party;
 24                (2)    promptly provide the Non-Party with a copy of the Stipulated
 25 Protective Order in this Action, the relevant discovery request(s), and a reasonably
 26 specific description of the information requested; and
 27                (3)    make the information requested available for inspection by the
 28 Non-Party, if requested.

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   1         (c)   If the Non-Party fails to seek a protective order from this court within
   2 14 days of receiving the notice and accompanying information, the Receiving Party
   3 may produce the Non-Party's confidential information responsive to the discovery
   4 request. If the Non-Party timely seeks a protective order, the Receiving Party will
   5 not produce any information in its possession or control that is subject to the
   6 confidentiality agreement with the Non-Party before a determination by the court.
   7 Absent a court order to the contrary, the Non-Party will bear the burden and expense
   8 of seeking protectk:i.i in this court of its Protected Material.
   9

  10 10.    UNAU HORIZED DISCLOSURE OF PROTECTED MATERIAL
  11        If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  12 Protected Material to any person or in any circumstance not authorized under this
  13 Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  14 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
  15 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
  16 persons to whom unauthorized disclosures were made of all the terms of this Order,
  17 and (d) request suc~erson or persons to execute the "Acknowledgment and
  18 Agreement to Be Bound" that is attached hereto as Exhibit A.
  19

 20 11.     .INADVERTENT PROD UCTION OF PRIVILEGED OR OTHERWISE
 21 PROTECTED MATERIAL
 22         When a Producing Party gives notice to Receiving Parties that certain
 23 inadvertently produced material is subject to a claim of privilege or other protection,
 24 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 25 Procedure 26(b )(5)(B). This provision is not intended to modify whatever procedure
 26 may be established in an e-discovery order that provides for production without prior
 27 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
 28 parties reach an agreement on the effect of disclosure of a communication or

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   1 information covered by the attorney-client privilege or work product protection, the
   2 parties may incorp0.ate their agreement in the stipulated protective order submitted
   3 to the court.
   4
   5 12.    MISCELLANEOUS
   6         12.1. Right to Further Relief. Nothing in this Order abridges the right of any
   7 person to seek its modification by the Court in the future.
   8         12.2. Right to Assert Other Objections. By stipulating to the entry of this
   9 Protective Order no Party waives any right it otherwise would have to object to
  10 disclosing or producing any information or item on any ground not addressed in this
  11 Stipulated Protecti\\~t.Order. Similarly, no Party waives any right to object on any
                         ',r.


  12 ground to use in evidence of any of the material covered by this Protective Order.
  13         12.3. Filing Protected Material. A Party that seeks to file under seal any
  14 Protected Material must comply with Civil Local Rule 79-5. Protected Material may
  15 only be filed under seal pursuant to a court order authorizing the sealing of the
  16 specific Protected Material at issue. If a Party's request to file Protected Material
  17 under seal is denied by the court, then the Receiving Party may file the information
  18 in the public record unless otherwise instructed by the court.
  19
  20 13.    FINAL DISPOSITION
  21        After the final disposition of this Action, as defined in paragraph 4, within 60
  22 days of a written request by the Designating Party, each Receiving Party must return
  23 all Protected Material to the Producing Party or destroy such material. As used in
  24 this subdivision, "all Protected Material" includes all copies, abstracts, compilations,
  25 summaries, and any other format reproducing or capturing any of the Protected
  26 Material. Whether the Protected Material is returned or destroyed, the Receiving
  27 Party must submit a written certification to the Producing Party (and, if not the same
  28 person or entity, to the Designating Party) by the 60 day deadline that (1) identifies

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        1 (by category, where appropriate) all the Protected Material that was returned or
        2 destroyed and (2) affirms that the Receiving Party has not retained any copies,
        3 abstracts, compilations, summaries or any other format reproducing or capturing any
     4 of the Protected Material. Notwithstanding this provision, Counsel are entitled to
     5 retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
     6 transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
     7 reports, attorney work product, and consultant and expert work product, even if such
     8 materials contain Protected Material. Any such archival copies that contain or
     9 constitute Protected Material remain subject to this Protective Order as set forth in
    10 Section 4 (DURATION).
    11

    12           14.     Any willful violation of this Order may be punished by civil or criminal
    13 contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
    14 authorities, or other appropriate action at the discretion of the Court.
    15 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
    16
    17 DATED:             \\/l:k/~c,1\Cf
                       ~~~~"'----~~~~~




    18                                                           Attorneys for Plaintiff

    19

   20 DATED: .            11
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                           , ___._
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                                 , _,,....,"-'-~~~-




   21                                                           Ahoni ys for Defendant

   22

   23 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   24
   25 DATED:           ~~~~~~~~~~




   26                                                       HON. MICHAEL R. WILNER
                                                            United States Magistrate Judge
   27
   28

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                                       STIPULATED PROTECTIVE ORDER
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   1                                           EXHIBIT A
   2
                    ACKNOWLEDGMENTANDAGREEMENT TO BEBOUND
   3            I, _ _ _ __ __ _ _ __ _ _               [full name], of _ _ _ _ _ __ _
   4
       [full address], declare under penalty of perjury that I have read in its entirety and
   5 understand the Stipdated Protective Order that was issued by the United States
   6 District Court for the Central District of California on [date] in the case of Nano
   7 Foundation, Ltd. et al. v. David Silver. I agree to comply with and to be bound by
   8 all the terms of this Stipulated Protective Order and I understand and acknowledge
   9 that failure to so comply could expose me to sanctions and punishment in the nature
  10
     of contempt. I solemnly promise that I will not disclose in any manner any
  11 information or item that is subject to this Stipulated Protective Order to any person or
  12
       entity except in strict compliance with the provisions of this Order.
  13            I further agree to submit to the jurisdiction of the United States District Court
  14 for the Central Distr,j_ct of California for the purpose of enforcing the terms of this
  15
       Stipulated Protective Order, even if such enforcement proceedings occur after
  16
       termination of this action. I hereby appoint                                        [full
  17 name] of                                                          [full address and
  18
       telephone number] as my California agent for service of process in connection with
  19
       this action or any proceedings related to enforcement of this Stipulated Protective
  20
       Order.
  21
       Date: ----------------~
  22




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                                    STIPULATED PROTECTIVE ORDER
